                              4:18-cv-04063-KLM # 177                Page 1 of 9
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                                                                                    Friday, 25 March, 2022 12:11:40 PM
                                                                                          Clerk, U.S. District Court, ILCD

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  SPRINGFIELD DIVISION

AARON O’NEAL,                                                 )
                                                              )
                                   Plaintiff,                 )
                                                              )        Case No. 4:18-cv-04063-SEM-TSH
         v.                                                   )
                                                              )        The Honorable Sue E. Myerscough
MANUEL ROJAS, et al.,                                         )
                                                              )
                                   Defendants.                )

              PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTIONS IN LIMINE

         NOW COMES the Plaintiff, AARON O’NEAL, by his attorneys, Reede Neutze and

Stephen Beemsterboer, of the University of Illinois Federal Civil Rights Clinic, and for

Plaintiff’s Response to Defendants’ Motions in Limine state as follows:


    I.   The Court Should Prohibit Plaintiff from Offering Evidence or Testimony, or

         Otherwise Suggesting, that the State of Illinois May Indemnify Defendants.1

         Plaintiff does not contest this motion as a general matter. However, as the cases cited by

Defendants make clear, such evidence would become proper and admissible to the extent

necessary to correct any suggestion made or elicited by Defendants’ counsel that could

affirmatively mislead the jury into believing that Defendants will, in fact, be responsible for any

monetary judgments awarded to Plaintiff. Lawson v. Trowbridge, 153 F.3d 368, 379–80 (7th Cir.

1998). Just as the collateral source rule generally serves to mitigate a jury’s potential tendency to

inflate an award when a collateral payment source is known, so too is it necessary to mitigate a

jury’s potential tendency to discount an award on the basis of any particular defendant’s financial



1
 To avoid any doubt, Defendants’ headings are reproduced here for clarity and ease of reference; they should not be
construed as Plaintiff’s own assertions.


                                                        1
                            4:18-cv-04063-KLM # 177           Page 2 of 9




situation where that defendant ultimately will not be liable for the monetary judgment. See id. In

recognizing the possibility, Plaintiff respectfully reserves the right to reraise this issue should it

arise in the course of the trial.

 II.    The Court Should Prohibit Plaintiff from Offering Evidence or Testimony of Other

        Lawsuits Involving the Defendants.

        Defendants’ Motion in Limine II should be denied as premature and overly broad. As

reflected in the Proposed Pretrial Order submitted to the Court, Plaintiff does not currently plan

to introduce any such evidence. (This is due, in part, to the fact that Defendants universally

expressed ignorance as to the existence of other such lawsuits in the course of their depositions

and frivolously objected to production of the same during written discovery.) Should any such

evidence come to light, it’s impossible to say at this time whether it would be probative or have

any risk of prejudicial effect. As such, the motion should be denied as premature. Furthermore,

the motion is overly broad and should be denied to the extent that it would ensnare reference to

any statements made by Defendants in the course of earlier lawsuits that are inconsistent with

statements made at trial in the present case—a perfectly valid basis to impeach a witness’s

testimony. See Fed. R. Evid. 613 (witness’s prior statement). For these reasons, Defendants’

Motion in Limine II should be denied.

III.    The Court Should Prohibit Plaintiff from Offering Evidence or Testimony of Any

        Misconduct, Reprimand, or Grievance issued against the Defendant.

        Defendants’ Motion in Limine III should be denied. At the outset, Plaintiff does not read

Defendants’ motion to seek exclusion of Plaintiff’s own grievances and appeals that directly

underlie the present controversy regarding his religious diet accommodations; however, to the

extent that it does, it should be denied. Of course, the handling of such grievances and/or appeals




                                                   2
                           4:18-cv-04063-KLM # 177            Page 3 of 9




by Defendants Gans, Frost, Dorethy, Pelker, and Baldwin are the very basis for the claims asserted

against them, and the relevance (indeed, necessity) of these grievances and appeals as evidence to

establish those claims should go without saying. As for the claims against Defendant Rojas,

Plaintiff’s own grievance is relevant in that it serves to corroborate Plaintiff’s account, tending to

show consistency over time and serving as a contemporaneous record of its details. Thus, to the

extent Defendants’ third motion in limine seeks to exclude these integral pieces of evidence, it

should be denied.

       Evidence pertaining to other grievances stemming from religious accommodations should

be admitted as well. Plaintiff alleges discrimination on the basis of his Catholic faith, and

grievances that center around religious diet requests for other Catholic inmates are relevant

circumstantial evidence that go to the state of mind and intent of Defendants. Such evidence “has

a[] tendency to make a fact [of consequence] more or less probable,” Fed. R. Evid. 401, the fact

of consequence being whether Defendants’ conduct in depriving Plaintiff of a religious diet

accommodation can be explained by some non-discriminatory justification specific to Plaintiff’s

situation, or whether the conduct was motivated, at least in part, by a discriminatory motive rooted

in the grievants’ Catholic faith. Where there are grievances that were handled similarly for other

Catholic inmates, it is less likely that any proffered non-discriminatory justification for Plaintiff’s

treatment would actually be legitimate if the same justification does not also apply to the situations

involving those other Catholic inmates. Furthermore, any such grievances would not amount to

impermissible propensity evidence under Rule 404(b). To be sure, whether Defendants took a

particular course of action is not seriously at issue here; rather, what is at issue is why Defendants

took the particular course of action that they did. As the Rule expressly provides, “other acts”

evidence is permissible to show, for example, “motive” and “intent.” Fed. R. Evid. 404(b)(2).




                                                  3
                           4:18-cv-04063-KLM # 177            Page 4 of 9




       Any record of prior misconduct, reprimand, or other grievance involving Defendants,

whether related to the events of this case or otherwise, if relevant, should also be admitted. With

that said, at this time, Plaintiff does not possess (nor, by extension, plan to introduce) any evidence

that falls in this category, other than the aforementioned religious-diet-related grievances and

appeals. If records of this nature exist, Defendants should specifically disclose them so the Court

and Plaintiff can duly review them. Only at such time would it be proper to evaluate whether that

evidence would be probative or pose any risk of prejudice.

       Because any evidence of this nature that is either planned or likely to be introduced is both

relevant and proper, Defendants’ Motion in Limine III should be denied.

IV.    The Court Should Prohibit Plaintiff from Offering Evidence or Testimony

       Referencing Any “Golden Rule” appeal.

       Plaintiff does not contest this motion.

 V.    Plaintiff Should be Barred From Offering IDOC and Facility Directives, Regulation,

       and Statutes at Trial.

       Defendants’ Motion in Limine V should be denied. Contrary to Defendants’ assertions,

departmental rules, facility directives, and state statutes are highly relevant to the facts of

consequence in this case. Key questions include whether Defendants acted with discriminatory

purpose and whether Defendant Rojas acted in retaliation. The Seventh Circuit has held time and

again that “[i]t is well settled law that departures from established practices may evince

discriminatory intent.” Nabozny v. Podlesny, 92 F.3d 446, 455 (7th Cir. 1996) (citing Village of

Arlington Heights v. Metropolitan Housing Dev. Corp., 429 U.S. 252, 267 (1977)); Hanners v.

Trent, 674 F.3d 683, 694 (7th Cir. 2012). The same is true for retaliation. See Hobgood v. Illinois




                                                   4
                            4:18-cv-04063-KLM # 177           Page 5 of 9




Gaming Bd., 731 F.3d 635, 645 (7th Cir. 2013) (“A jury could infer from this departure from

policy that the [conduct] was retaliatory . . . .”).

        In short, “[s]ignificant, unexplained or systematic deviations from established policies or

practices can no doubt be relative and probative circumstantial evidence of unlawful intent.” Id.

(quoting Hanners, 674 F.3d at 694) (brackets omitted). Of course, deviations from policy can

hardly be shown without establishing what those policies even are in the first place. Furthermore,

since punitive damages are sought in this case, deviations from official policy are also relevant

because they make the existence of the requisite intent for such damages more likely. As the

Supreme Court held in Smith v. Wade, “a jury may be permitted to assess punitive damages in an

action under § 1983 when the defendant’s conduct is shown to be motivated by evil motive or

intent, or when it involves reckless or callous indifference to the federally protected rights of

others.” 461 U.S. 30, 56 (1983). Thus, evidence that would bear upon a defendant’s intent is

particularly relevant here. See Hobgood, 731 F.3d at 645.

        Additionally, directives, regulations, and statutes are relevant to the extent that they are

necessary for Plaintiff to establish a coherent narrative and aid the jury’s understanding of the

numerous claims and defendants involved. See Old Chief v. United States, 519 U.S. 172, 187

(1997) (“Evidence thus has force beyond any linear scheme of reasoning, and as its pieces come

together a narrative gains momentum, with power not only to support conclusions but to sustain

the willingness of jurors to draw the inferences, whatever they may be, necessary to reach an

honest verdict.”). The grievance and religious diet procedures that are central to this case,

including the role of each defendant with respect to these procedures, will no doubt be

challenging for the members of the jury to understand and keep straight. Referencing relevant

regulations will help complete the picture for the jury, providing the necessary background to




                                                       5
                           4:18-cv-04063-KLM # 177             Page 6 of 9




contextualize Defendants’ actions. See Fed. R. Evid. 401 advisory committee’s note to proposed

rules (“Evidence which is essentially background in nature can scarcely be said to involve

disputed matter, yet it is universally offered and admitted as an aid to understanding.”). Indeed, it

would be confusing and unexpected to portray to the jury Plaintiff’s diet requests and grievances,

as well as Defendants’ actions in response, in an abstract way divorced from the very policies

that govern those procedures. See Old Chief, 519 U.S. at 187–88 (“Th[e] persuasive power of the

concrete and particular is often essential to the capacity of jurors to satisfy the obligations that

the law places on them. . . . [T]here lies the need for evidence in all its particularity to satisfy the

jurors’ expectations about what proper proof should be.”). Not only are directives, regulations,

and statutes relevant, it would be unnecessary and unduly burdensome to require Plaintiff’s

counsel to dance around mention of them in putting on Plaintiff’s case.

        In short, Defendants’ claim of irrelevance is simply unfounded. To be sure, the cases

cited for that proposition, which pertain to claims of excessive force, are entirely inapposite.

Unlike those cases, there is not a question here of the reasonableness of any action, let alone an

action involving the use of force. Whatever force a similar claim of irrelevance has in those cases

is, ironically, irrelevant here. Defendants’ Motion in Limine V should be denied.

VI.     Plaintiff and his Witnesses Should be Barred from Testifying at Trial Regarding the

        Causation of any Medical or Mental Health Condition.

        Defendants’ Motion in Limine VI should be denied. Plaintiff and his witnesses should be

able to testify about the cause of any medical conditions precipitated by, or otherwise relevant to,

the events and actions underlying this case. Rules 701 and 702 only prohibit a lay witness from

offering testimony that requires scientific or otherwise specialized knowledge. However, a lay

witness, such as Plaintiff himself, is permitted to testify about his “rationally based . . .




                                                   6
                          4:18-cv-04063-KLM # 177           Page 7 of 9




perception[s],” provided they are “helpful” and “not based on scientific, technical, or other

specialized knowledge.” Fed. R. Evid. 701. Additionally, “[a] Plaintiff may testify about their

symptoms, their pain and the treatment they underwent.” Taylor v. N.E. Illinois Regl. Commuter

R.R. Corp., 04 C 7270, 2008 WL 244303, at *6 (N.D. Ill. Jan. 28, 2008) (citing Townsend v.

Benya, 287 F. Supp. 2d 868, 875 (N.D. Ill. 2003)). Moreover, the Seventh Circuit has held that

“a witness does not need to be a doctor to discuss his or her health in general terms.” Collins v.

Kibort, 143 F.3d 331, 337 (7th Cir. 1998).

       Thus, a lay witness without any technical expertise could explain what his condition was,

relay the symptoms he experienced, describe the timeline of events that occurred, and generally

convey his perception of, and the sensations felt by, his body. None of these statements (or the

like) would be “based on scientific, technical, or other specialized knowledge within the scope of

Rule 702.” Fed. R. Evid. 701. Instead, all of these would be proper lay witness opinion testimony

that does not run afoul of Rule 701. Id. Thus, Plaintiff is not only equipped but permitted to

render opinions about his medical health conditions and the requirements of care for his body as

they pertain to this case. Defendants’ Motion in Limine VI should be denied.

VII.   Plaintiff Should be Barred from Offering Inadmissible Hearsay Statements of Any

       Medical or Mental Health Conditions.

       Defendants’ Motion in Limine VII should be denied. Such statements are likely to fall

under the well-established exception to the general hearsay rule that permits admission of

statements made for medical diagnosis or treatment. Fed. R. Evid. 803(4). In particular, Rule

803(4)(a) allows a proponent to offer out-of-court statements for the truth of the matter asserted

if they were made for, and are reasonably pertinent to, medical diagnosis or treatment. Fed. R.

Evid. 803(4)(a). Additionally, part (b) of that rule allows for statements that describe medical




                                                 7
                           4:18-cv-04063-KLM # 177            Page 8 of 9




history, past or present symptoms or sensations, and their inception or general cause. Fed. R.

Evid. 803(4)(b). It should be noted, as well, that the exception applies regardless of whether the

declarant is available as a witness. Fed. R. Evid. 803.

       The Seventh Circuit has elaborated that statements that “reveal symptoms, objective data,

surrounding circumstances or any similar factual data that a reasonable physician would consider

relevant in the treatment or even diagnosis of a medical condition” are generally admissible

under this rule. Gong v. Hirsch, 913 F.2d 1269, 1274 (7th Cir. 1990) (emphasis deleted). It has

further explained that “[t]he rationale behind Rule 803(4) is that a patient’s self-interest in

promoting the cure of his own medical ailments guarantees the reliability of statements the

patient makes for purposes of diagnosis or treatment.” Id. at 1273. Defendants’ Motion in Limine

VIII, a request for an outright bar on a category of evidence whose admissibility is expressly

countenanced by the Federal Rules of Evidence, should be denied.



       WHEREFORE, for the above and foregoing reasons, AARON O’NEAL, respectfully

requests that this Honorable Court rule in keeping with this Memorandum and deny Defendants’

Second, Third, Fifth, Sixth, and Seventh Motions in Limine.



                                                               Respectfully Submitted,

                                               By:             /s Reede Neutze
                                                               /s Stephen Beemsterboer
                                                               Attorneys for Plaintiff

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                                                  8
                          4:18-cv-04063-KLM # 177           Page 9 of 9




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AARON O’NEAL,                                        )
                                                     )
                              Plaintiff,             )
                                                     )       Case No. 4:18-cv-04063-SEM-TSH
       v.                                            )
                                                     )       The Honorable Sue E. Myerscough
MANUEL ROJAS, et al.,                                )
                                                     )
                              Defendants.            )


                                CERTIFICATE OF SERVICE

       We hereby certify that on March 25, 2022, we electronically filed Plaintiff’s Response to

Defendant’s Motions in Limine with the Clerk of the Court using the CM/ECF system, which

will send notification of the filing to Defendant’s attorney below:

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                                                 9
